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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

   _________________________________________

   In Re: COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                         Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                          MDL No. 2570
   _________________________________________

   This Document Relates to the Following:

         Daniella Barrera
         Case No. 1:17-cv-03179-RLY-TAB

         John Brandes
         Case No. 1:17-cv-03129-RLY-TAB

         James M Estes
         Case No. 1:17-cv-03780-RLY-TAB

         Hani Ghaith
         Case No. 1:18-cv-00896-RLY-TAB

         David Hare
         Case No. 1:17-cv-02067-RLY-TAB

         Nancy Rhines
         Case No. 1:18-cv-00852-RLY-TAB

         Jankie Sammy
         1:18-cv-00887-cv-00887-RLY-TAB

         Diane M Vina
         Case No. 1:18-cv-02689-JMS-DML

   _________________________________________

           UNOPPOSED MOTION TO EXTEND TIME FOR DEFENDANTS’ RESPONSE
                 TO PLAINTIFFS’ MOTION TO TRANSFER VENUE

         Defendants Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated),

   and William Cook Europe ApS (collectively “Cook” or Defendants) hereby move the Court for



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   an Order extending the time in which they may respond to Plaintiffs’ Motion to Transfer Venue

   [Docket No. 9602] from November 27, 2018, to December 14, 2018. There are no status

   conferences set for December, and so this motion will not be heard until January 2019 at the

   earliest. Plaintiffs’ counsel has stated that she does not object to the requested extension.

                                               Respectfully submitted,


   Dated: November 20, 2018                    /s/ Andrea Roberts Pierson
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                                               Fort Wayne, Indiana 46802
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                                               Facsimile: (260) 460-1700
                                               stephen.bennett@faegrebd.com

                                               Counsel for the defendants, Cook Incorporated,
                                               Cook Medical LLC (f/k/a Cook Medical
                                               Incorporated), and William Cook Europe ApS




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 20, 2018, a copy of the foregoing was filed

   electronically, and notice of the filing of this document will be sent to all parties by operation of

   the Court’s electronic filing system to CM/ECF participants registered to receive service in this

   matter. Parties may access this filing through the Court’s system. Lead Co-Counsel for

   Defendants will serve any non-CM/ECF registered parties.



                                                  /s/ Andrea Roberts Pierson




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